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COURT OF APPEALS

EIGHTH DISTRICT OF
TEXAS

EL PASO, TEXAS

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  IN RE:&nbsp; RODNEY EARL
  MILLER AND BIG SKY TOWING,
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  RELATORS.
  
  
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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-03-00312-CV
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  An Original
  Proceeding 
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  in Mandamus
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; OPINION ON
PETITION FOR WRIT OF MANDAMUS

This
is an original proceeding in mandamus.&nbsp;
Rodney Earl Miller and Big Sky Towing, Relators, seek a writ of mandamus
requiring the trial court to vacate or rescind an order granting a protective
order so that they may discover certain mental health records of Christi Dawn
Hansen.&nbsp; For the reasons stated below, we
deny relief.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; STANDARD
OF REVIEW

Mandamus
will lie only to correct a clear abuse of discretion.&nbsp; Walker v. Packer, 827 S.W.2d 833, 840
(Tex. 1992)(orig. proceeding).&nbsp; Moreover,
there must be no other adequate remedy at law.&nbsp;
Id.

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1.&nbsp; Clear abuse of discretion

An
appellate court rarely interferes with a trial court's exercise of
discretion.&nbsp; A clear abuse of discretion
warranting correction by mandamus occurs when a court issues a decision which
is without basis or guiding principles of law.&nbsp;
See Johnson v. Fourth Court of Appeals, 700 S.W.2d 916, 917 (Tex.
1985)(orig. proceeding).&nbsp; With respect to
resolution of factual issues or matters committed to the trial court=s discretion, the reviewing court may
not substitute its judgment for that of the trial court.&nbsp; Walker, 827 S.W.2d at 839-40.&nbsp; The Relator must therefore establish that the
trial court could reasonably have reached only one decision.&nbsp; Id.&nbsp;
Even if the reviewing court would have decided the issue differently, it
cannot disturb the trial court=s
decision unless it is shown to be arbitrary and unreasonable.&nbsp; Id.&nbsp;
With respect to a trial court=s
determination of the legal principles controlling its ruling, the standard is
much less deferential.&nbsp; A trial court has
no Adiscretion@
in determining what the law is or applying the law to the facts.&nbsp; Thus, a clear failure by the trial court to
analyze or apply the law correctly will constitute an abuse of discretion, and
may result in appellate reversal by extraordinary writ.&nbsp; Walker, 827 S.W.2d at 840.

2.&nbsp; No adequate remedy by appeal








An
appellate court will deny mandamus relief if another remedy, usually appeal, is
available and adequate.&nbsp; Street v.
Second Court of Appeals, 715 S.W.2d 638, 639-40 (Tex. 1986) (orig.
proceeding).&nbsp; Mandamus will not issue
where there is Aa clear
and adequate remedy at law, such as a normal appeal.@&nbsp; Walker, 827 S.W.2d at 840 (quoting State
v. Walker, 679 S.W.2d 484, 485 (Tex. 1984)).&nbsp; Mandamus is intended to be an extraordinary
remedy, available only in limited circumstances.&nbsp; The writ will issue Aonly
in situations involving manifest and urgent necessity and not for grievances
that may be addressed by other remedies.@&nbsp; Holloway v. Fifth Court of Appeals,
767 S.W.2d 680, 684 (Tex. 1989) (quoting James Sales, Original Jurisdiction of
the Supreme Court and the Courts of Civil Appeals of Texas in Appellate
Procedure in Texas, Section 1.4(1)(b) at 47 (2d Ed. 1979)).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPLICATION OF THE LAW TO
THE FACTS BEFORE THE COURT

The
record before us does not reflect that the trial court clearly abused its
discretion by granting the protective order.&nbsp;
Accordingly, we deny the relief requested in the petition for writ
of&nbsp; mandamus.

September 10, 2003

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RICHARD BARAJAS, Chief Justice

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Before
Panel No. 4

Barajas,
C.J., Larsen, and McClure, JJ.

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